
35 N.Y.2d 907 (1974)
The People of the State of New York, Respondent,
v.
Samuel Lee Hayes and Lawrence Mack, Appellants.
Court of Appeals of the State of New York.
Argued December 17, 1974.
Decided December 20, 1974.
William H. Bond, Nathaniel A. Barrell and Henrietta M. Wolfgang for appellants.
Edward C. Cosgrove, District Attorney (Nancy Piggush of counsel), for respondent.
Concur: Chief Judge BREITEL and Judges JASEN, GABRIELLI, JONES, WACHTLER, RABIN and STEVENS.
Orders affirmed on the opinion by Mr. Justice FRANK DEL VECCHIO at the Appellate Division.
